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              -i
               J Pj                          UNITED STATES DISTRICT COURT
             ^                           FOR THE DISTRICT OF MASSACHUSETTS

               EQUAL MEANS EQUAL,
     C         JANE DOE,
     ^ S 5 MARY DOE,
_ 2 0"^ SUSAN DOE,
-vX)— 0 And similarly situated others                                    Case No. 17-12043


If 45
0              V.
                                                   Plaintiffs,




            . UNITED STATES DEPARTMENT of
              EDUCATION,
r\
         ^^ BETSY
            and DEVOS,in her official capacity as
Vj
               Secretary of Education

                                                   Defendants
Nj       (5^
                              PLAINTIFFS' MOTION TO EXTEND DEADLINE FOR FILING
                                  OPPOSITION TO DEFENDANTS' MOTION TO DISMISS

J                        Plaintiffs respectfully request an additional forty(40)days to file their opposition to
^         \ Defendants' Motion to Dismiss,from March 30,2018 to and including May 14,2018. Plaintiff
 a^     conferred with Defendants' counsel who takes to position on this motion.
 ^ J ^w        As grounds therefore,Plaintiffs state that counsel has a significant workload,including a
 fl J Q;i
-J         fil^tJirief due in the First Circuit Court of Appeals during this same time period, which will consume

                    great deal oftime. Additionally, this case is being supported by laws students, who will have
             £ more availability after final exams, which end in mid-April. Therefore, Plaintiffs respectfully
  ^       ^^request an additional forty(40)days to complete and submit their opposition to this Court. The
 ^            A requested extension, made well in advance ofthe original due date, is for good cause and in the
A
(A-             best interest ofjustice, is not for the purpose of delay, and will not prejudice any party.
